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                         6   Attorneys for Defendant
                             Soothe, Inc.
                         7

                         8
                                                   UNITED STATES DISTRICT COURT
                         9
                                                CENTRAL DISTRICT OF CALIFORNIA
                      10
                                                          (SOUTHERN DIVISION)
                      11

                      12     ANTIONETTE HERRERA,                          Case No. 8:18-cv-01753-DOC-ADS
                             individually, and on behalf of all others
                      13     similarly situated,
                                                                          STIPULATION TO EXTEND
                      14                     Plaintiff,                   TIME TO RESPOND TO INITIAL
                                                                          COMPLAINT BY NOT MORE THAN
                      15           v.                                     30 DAYS (L.R. 8-3)
                      16     SOOTHE, INC., a Delaware                     Current response date: December 3, 2018
                             corporation,                                 New response date:     January 2, 2019
                      17
                                             Defendant.
                      18

                      19           WHEREAS, Plaintiff Antionette Herrera (“Plaintiff”) filed this action on

                      20     September 26, 2018 in the Central District of California against Defendant Soothe,

                      21     Inc. (“Defendant”).

                      22           WHEREAS, Defendant’s deadline to answer or otherwise respond to the

                      23     complaint is currently December 3, 2018.

                      24           WHEREAS, the parties are meeting and conferring, through counsel,

                      25     regarding the complaint’s allegations; and

                      26           WHEREAS, the parties desire to extend Defendant’s deadline to answer or

                      27     otherwise respond to the complaint for an additional thirty (30) days.

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   COOLEY LLP
                                                                                STIP. TO EXTEND TIME TO RESPOND TO INITIAL
A TTORN E YS A T L A W                                               1.       COMPLAINT BY NOT MORE THAN 30 DAYS (L.R. 8-3)
     S A N D I EG O                                                                            CASE NO 8:18-cv-01753-DOC-ADS
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                         1         NOW, THEREFORE, the parties to the above-captioned action hereby
                         2   stipulate and agree that Defendant shall have until and including January 2, 2019 to
                         3   file an answer or otherwise respond to the complaint.
                         4
                             Dated:      November 20, 2018          COOLEY LLP
                         5

                         6                                          /s/ Darcie A. Tilly
                                                                              Darcie A. Tilly (239715)
                         7                                                  EMAIL: dtilly@cooley.com
                         8                                          Attorneys for Defendant
                                                                    SOOTHE, INC.
                         9
                                                                    The filer, Darcie A. Tilly, attests that the
                      10                                            other signatory listed, on whose behalf the
                                                                    filing is submitted, concurs in the filing’s
                      11                                            content and has authorized the filing.
                      12
                             Dated:      November 20, 2018
                      13                                            WOODROW & PELUSO
                      14                                            /s/ Steven Woodrow
                      15
                                                                      Steven Woodrow (admitted pro hac vice)
                                                                     EMAIL: swoodrow@woodrowpeluso.com
                      16                                            Attorneys for Plaintiff
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                                                                    ATOINETTE HERRERA

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   COOLEY LLP                                                                 STIP. TO EXTEND TIME TO RESPOND TO INITIAL
A TTORN E YS A T L A W                                              2.      COMPLAINT BY NOT MORE THAN 30 DAYS (L.R. 8-3)
     S A N D I EG O                                                                          CASE NO 8:18-cv-01753-DOC-ADS
